                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                  No. CR 05-1021
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 CARLA GRACE ENGLER,                   RECOMMENDATION
                                   CONCERNING DEFENDANT’S
         Defendant.                       GUILTY PLEA
                     ____________________


                      I. INTRODUCTION AND BACKGROUND
       On November 16, 2005, a five-count Second Superseding Indictment was returned
against the defendant Carla Grace Engler. On February 23, 2006, the defendant appeared
before United States Magistrate Judge John A. Jarvey and entered a plea of guilty to Count
6 of the Second Superseding Indictment. On February 23, 2006, Judge Jarvey filed a
Report and Recommendation in which he recommended that defendant’s guilty plea be
accepted. No objections to Judge Jarvey's Report and Recommendation were filed. The
court, therefore, undertakes the necessary review of Judge Jarvey's recommendation to
accept defendant’s plea in this case.


                                        II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the

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             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey's findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey's Report and Recommendation of
February 23, 2006, and accepts defendant’s plea of guilty in this case to Count 6 of the
Second Superseding Indictment.
      IT IS SO ORDERED.
      DATED this 10th day of March, 2006.




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